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Orleans Parish Sheriff’s Office
Report on Funding Available
Prepared by: Michael G. Gaffney
July 20, 2020

Background

The City of New Orleans (hereinafter “City”) has 10 relevant Hurricane Katrina Project
Worksheets (“PW) which are related to the Criminal Justice facilities. These Project Worksheets
are:

PW 21063 (Donor, Additional Templeman I & II funding with OPSO assistance);

PW 17452 (Donor, Project Management);

PW 3977 (Donor, Templeman I & II original funding);

PW 21057 (SRIA- Not relevant to Templeman | &II funding);

PW 20947 (SRIA- Not relevant to Templeman I & II funding);

PW 20494 (Recipient PW, Criminal Justice Consolidated Alternate)

PW 21062 (From PW 3977 to Recipients NOPD Third District Renovation, NOPD

Training Center)

e PW21067 V3- Criminal Justice & Public Safety Alternate Project Youth Detention
Center;

e PW 21068-Criminal Justice & Public Safety Alternate Project In Line Grinder
Juvenile Justice; and

e PW 21081- OPP Docks.

The basic strategy of the City was to consolidate a large number of Project Worksheets
(Donors) into a single PW wherein it could then spend the funds on other projects which it
specifically identified (Recipients).'

This strategy was accomplished by two funding alternatives. For a specific number of
projects, subject to certain conditions, and subject to restrictive time period, the City utilized the
Sandy Recovery and Improvement Act (SRIA) initiative entitled the FEMA Public Assistance
Alternative Procedures (PAAP) Pilot Program, Version 2 dated December 19, 2013.2 PW 21057
and 20947 are SRIA PWs. While involving Criminal Justice facilities, neither involve OPSO
facilities.

 

4 This strategy was used. Subsequently, certain recipients were moved to new PWs. See PW 21062 for
NOPD Third District and Training Center; PW 21067 for the Youth Detention Center; and PW 21068 for the
In-line grinder, and PW 21081 for the docks.

2 See PW 21063, page 2 of 10; Bates 4 of 484.

EXHIBIT 1
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For those Hurricane Katrina damaged facilities which were criminal justice facilities, the
City elected to use the Alternate Project funding alternative under 44 CFR 206.203(d)(2).> This
Alternate Project funding election was at 100% due to Section 546 of the Consolidated Security,
Disaster Assistance and Continuing Appropriations Act of 2009.7

Summary — Conclusion

Summary- Conclusion

FEMA Funds available
to
fund the Mental and Medical Needs Building

We have traced the FEMA funding which is attributable to the OPSO’s Templeman II
funding. Our analysis reflects that the FEMA funding attributable to OPSO’s Templeman II
Facility is $70,482,530.51, plus an administrative allowance of $352,412.66. The amount of
FEMA funding attributable to OPSO’s Templeman II facility was determined as set forth below.

In addition, the City has received funds from CCC which are available to fund the Mental
and Medical Needs Building in the amount of $16,607,084.13 ($22,160,540.00 - $5,553,455.87)
from the improvements made by the OPSO at the CCC. In addition, there is FEMA funding for
the CCC IT relocation of $143,439.00. There is also FEMA funding for CCC for Project
Management in the estimated amounts of $2,161,623.00 ($22,160,540.00 * 9.754%) plus
$15,505.00.

In addition, the OPSO has the capability to obtain funding from FEMA as a reimbursement
of the Central Plant costs. This amount is $4,183,455.45.° The OPSO or City could only obtain
this funding from FEMA by means of a Cooperative Endeavor Agreement (“CEA”). The City has
refused to execute that portion of the CEA which would enable the OPSO to obtain these funds.
Indeed, the City has discussed this with FEMA in an effort to preclude the OPSO from these funds
because it could cause the City concerns with its funding for Templeman I & II.

Additionally, as noted below, there are a number of obligations due to OPSO by
the City from its FEMA funding. This amount ranges up from $2,000,000.00 with the ability to
enable OPSO to recover an additional $5,000,000.00 for temporary video visitation and temporary
medical sites constructed in compliance with the Consent Decree.

FEMA Funds remaining
to
fund the Mental and Medical Needs Building

 

 

: See PW 21063, Page 2 of 10; Bates 4 of 484.
2 See PW 21063, Page 8 of 10; Bates 10 of 484.
5 See attached schedule dated September 12, 2016.

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The Criminal Justice PW 20494 has funding which has not been reimbursed to the City in
excess of $90,000,000.00. However, the City has submitted recipient projects for all of this money
as reflected on the attached schedule. The only funding which the City has submitted to FEMA to
use for the Mental and Medical Needs building is $30,000,000.00. It does not appear that the
Mental and Medical Needs facility has been approved as a recipient facility due to unanswered
requests from FEMA. Thus, it does not appear that any of the $30,000,000 has been approved by
FEMA for use in the Mental and Medical Needs building as a recipient project.

The City in its Motion states that it has spent $17,300,000.00 on the Juvenile Justice
Facility and $5,300,000.00 on the Docks. If we assume that this is both accurate and reasonable,
then the City has spent $22,600,000.00 out of $70,482,530.51 which is available from Templeman
II only. That would leave a balance of $47,882,530.51 remaining to construct the Mental and
Medical Needs building.

In addition, the City has expended more on the Docks and the Juvenile Justice facility than
it budgeted and that it suggested to FEMA and the OPSO. The budget for the Docks was
$5,000,000 which the City submitted to FEMA. The final cost per the City’s Motion was
$5,300,000.00. This is an overrun of $300,000.00. That construction overrun should not affect the
amount of funding for the Mental and Medical Needs Facility. The budget for the Juvenile Justice
Facility was $16,000,000.00 which the City submitted to FEMA. The final cost per the City’s
Motion was $17,300,000.00. This is an overrun of $1,300,000.00. That should not affect the
funding for the Mental and Medical Needs Facility. Thus, there should be added to the available
remaining FEMA funds the sum of $1,600,000.00 ($300,000.00 + $1,300,000.00).

The Reimbursements on the various Project Worksheets do not reflect these costs. The City
may not have submitted the costs incurred for reimbursement. I do not know. The reimbursements
are as follows:

 

Reimbursement FEMA Remaining

Funding Funding
PW 21062-Criminal
Court Phase II,
NOPD Third District
Renovation,
and Training Center Renovation $9,595,302.27 $16,532,862.00 $6,937,559.73
PW 21067- Juvenile Justice $13,447,511.90 $16,406,506.48 $2,958,994.58
PW 21068- In line Grinder $96,068.75 $630,243.99 $534,175,.24
PW 20494-Templeman I
and II $31,127,780.01* $144,784,844.00 Less Funding

transferred to other PWs)

PW 20081-OPP Docks ? $5,252,033.28 ?
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Easy understanding Summary: $144,784,844.00
PW 21062 Reimbursements ($9,595,302.27)
PW 21067 Reimbursements ($13,447,511.90)
PW 21068 Reimbursements ($96,068.75)
PW 20494 Reimbursements ($31.127.780.01)
NET AVAILABLE $90,518,181.07

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PW 21063- Templeman I and II

PW 21063 relates to the additional funding which Sheriff Marlin N. Gusman assisted the
City of New Orleans in obtaining for the replacement of the Hurricane Katrina damaged
Templeman I and Templeman II jails. After years of negotiating with FEMA, the FEMA funding
for both Templeman I &II both design and construction was a combined total of $52,671,351.43
which was provided in PW 3977. The City requested the assistance of Sheriff Marlin N. Gusman.
At the request of Sheriff Marlin N. Gusman, the undersigned met with the City’s FEMA team
including Kaylen Eckert and Katy Dignan. Then, Sheriff Marlin N. Gusman authorized Jerry
Hebert of Grace and Hebert to assist the City. Jerry Hebert prepared a detailed analysis of
applicable codes and standards which was the basis of the significant additional FEMA funding
for Templeman I & IL.°

_ The assistance which Sheriff Marlin N. Gusman provided resulted in a substantial increase
in FEMA funding for Templeman I & II. As a result of Sheriff Marlin N. Gusman’s assistance to
the City, FEMA provided the following funding for Templeman I & II:

e FEMA provided total funding for the construction of Templeman I & II in
the amount of $99,905,621.00 (PW 3977 and PW 21063).

e Inaddition, FEMA funded Design fees in PWs 3977 and 21063 (FEMA CEF
factor H2)’ for Templeman I & II in the total amount of $6,723,822.00. Thus,
the FEMA funding for the combined design and construction of Templeman
I & IL is $106,629,443.00. §

e In addition, FEMA funded Project Management fees (FEMA CEF factors
H1 & H3) for Templeman I & II in the total amount of $8,991,506.00.° This
amount was funded into PW 17452, the City’s consolidated Project

 

Management PW.
s See PW 21063, page 3 of 10; Bates 5 of 484.
7 CEF stands for Cost Estimating Format. This is the estimating methodology used by FEMA to better

estimate the total cost of large projects. See FEMA Public Assistance Policy Digest, FEMA 321/October
2001, page 23.

. See PW 21063, page 7 of 10; Bates 9 of 484. The Project Management of $8,991,506 is in a separate PW,
PW 17452. Therefore, FEMA added $50,495,852.57 to this PW 21063 (or PW 3977) for Templeman | & Il.
3 See PW 21063, page 7 of 10; Bates 9 of 484. Also note H1 is project management for the design phase. H3

is for project management for the construction phase. See CEF Instructional Guide.

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e Finally, while not mentioned in any of these PWs, there is an
administrative allowance for Templeman I & II which is automatically
added to all FEMA reimbursements in an amount of one-half of 1% (.5%).
This amounts to an additional $578,104.75 which is available for
Templeman I &II replacement.'°

Thus, the total FEMA funding which is included in PW 17452 (Project Management) and
PW 21063 (Design and Construction) for the replacement of Templeman I & II is ONE
HUNDRED FIFTEEN MILLION SIX- HUNDRED TWENTY THOUSAND NINE
HUNDRED AND FORTY-NINE and NO/100 ($115,620,949.00) DOLLARS

The total available FEMA funding, including the administrative allowance, provided
for the replacement of Templeman I & II is ONE HUNDRED SIXTEEN MILLION ONE
HUNDRED NINETY-NINE THOUSAND FIFTY-THREE AND 75/100 ($116,199,053.75.)
DOLLARS.

The City elected to cap the Templeman I & II funding and include the $115,620,949.00 of
Templeman I & II funding from PW 3977 and PW 21063, along with the funding of 14 other
Criminal Justice facilities, into a single consolidated Alternate Project Worksheet, i.e., PW
20494.!' In addition, while not mentioned, the administrative allowance is available to construct
the Mental and Medical Needs facility. The total available funding in PW 20494 is approximately
$144,784,844.00.

Allocation of funding between Templeman I & Il

The replacement model used by FEMA to arrive at the funding of $115,620,949.00 was
based upon square footage.'? Thus, the allocation of the FEMA funding between Templeman 1
and Templeman II is easy to determine. One must simply use the relative square footage.

Jerry Hebert provided the information to FEMA for its calculations of the replacement
model. Jerry Hebert also provided the information to OPSO for the allocation between Templeman
I & Templeman II. The relative square footage is 60.96% to Templeman II and 39.04% to
Templeman I. !?

Thus, the FEMA funding attributable to Templeman II is 60.96% of
$115,620,949.00. The amount of funding attributable to OPSO’s Templeman I
is $70,482,530.51. '*

 

a0 Stafford Act Section 406(f}(1); 44 CFR 206.228(a){2); Public Assistance Guide FEMA-322, pages 41-44.

i See PW 21063, page 8 of 10; Bates 10 of 484.

22 See PW 21063, page 7 of 10; Bates 9 of 484. The CEF uses Part A costs to which Parts B-H are added in the
CEF. Parts B-H are soft costs of construction.

B See attached letter dated November 16, 2015. The City is and has always been aware of the relative
square footages between Templeman | and Templeman Il.

as In prior communications, | used the figure of $65,000,000 because | was under the impression that the

funding was only $106,000,000. That figure did not include the Project Management fees of $8,991,506
and did not include the Administrative Allowance. The correct amount attributable to OPSO’s Templeman

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PW 17452- Consolidated Project Management

As noted above, in the formulation of PW 21063, FEMA agreed to fund Project
Management fees (FEMA CEF factors H1 & H3) for the replacement of Templeman | & II in the
total amount of $8,991,506.00.

FEMA placed the funding for the CEF Factors Hl & H3 into a consolidated Project
Management Project Worksheet, PW 17452, along with its other funding for Project Management
services.

While $8,991,506 of Project Management fees from Templeman I & II was placed into
PW 17452, the City transferred eligible funding of only $2,523,181.50 to PW 20494 the Criminal
Justice Alternate Project PW.!> The remaining $6,468,324.50 was retained in PW 17452 or was
transferred to other PWs, 21062 ($731,333), 21067 ($406,506.48), 21068 ($30,243.99), 21080
($224,309.62), 21081 ($252,033.28), and 21112 ($4,186,934.60). The total sum of $8,354,542.47
was transferred out of this PW to these various Project Worksheets. Additionally, $628,333.70 was
transferred to PW 21112V0.

The tracing or following of these funds is difficult since money is fungible. None the less,
FEMA did fund $8,991,506 for damages to Templeman I & II. There is no real need to follow the

money.

PW 3977 V7- Templeman Prison Phase I (and IT)

PW 3977 V2 received the obligated scope and previously obligated funds from PW 4119
(Templeman II). '¢

At the end of the City’s efforts of PW 3977 formulation, in PW 3977 Version 7, FEMA
obligated (before Sheriff Marlin N. Gusman provided his assistance to the City) the sum of
$52,671,351.43 for the replacement of both Templeman I & II, plus A/E fees of $3,462,239.'” The
total of $52,671,351.43 + $3,462,239.00 = $56,133,590.43. PW 3977 was adjusted for insurance
reductions of $5,094,000 (wind) and $500,000 (flood) resulting in transferrable funding of

 

Ilis $70,482,530.51. In addition, there is administrative allowance of $352,412.66. ($578,104.75 x

60.96%)
5 See PW 20494 V5 page 58 of 114; Bates 58 of 710. This information is not present in PW 20494 V5 Il.
46 See PW 3977 V7, page 3 of 66; Bates 380 of 484. A copy of PW 3977 V7 is included in PW 21063 as

Attachment 5. FEMA considered Templeman | and Templeman II were a single building with two wings
and that the combination was done for simplification of tracking costs. See Version 2 of PW 3977 V7,
page 3 of 66; Bates 70 of 484. FEMA was under the impression that Templeman | & II is a City owned
building. See PW 3977 V7, page 46 of 66; Bates 423 of 484.

aa In addition, FEMA provided actual cost funding to demolish Templeman | & !| of $509,328.53 ($505,856.84
plus $75,211.14 minus ($71,739.45)). FEMA also provided Project Management funds in a separate PW.

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$50,539,590.43. This amount was increased by the demolition costs which are not transferable of
$505,856.84 +$75,211.14 -$71,739.46= $509,328.52. When consolidated the FEMA funding is
$56,133,590.43 - $5,094,000 -$500,000 + $509,328.52 which equals the obligated amount of
$51,048,919.01.

As noted above, PW 21063 was issued to reflect the results of Sheriff Marlin N. Gusman’s
assistance to the City. The FEMA funding was increased by PW 21063 from the $56,133,590.43
in PW 3977 to $106,629,443.00, an increase of $50,495,852.57.

By letter dated December 17, 2013, the City requested that the funding from PW 3977 for
both Templeman I & II be transferred to its consolidated alternate projects PW for Criminal Justice
and Public Safety Programs, PW 20494.'8

By letter dated June 23, 2014, FEMA responded to the City’s request. FEMA
acknowledged the City’s withdrawal as to the request to consolidate PW 2048 (Juvenile and
Courts) into PW 20494. FEMA, after advising the City as to the application of the Strategic Funds
Management initiative, requested additional information from the City in order to process this
request. The request related to the proposed Alternate Projects. '? Attached to the letter is a list of
the proposed Alternate Projects to which the Consolidated Alternate Project funding could be
applied. Attachment 1 thereto lists the Recipient Facilities.?° Noticeably missing is at this time is
Phase III, the Mental and Medical Needs facility.

By letter dated December 17, 2013, the City added four projects to the recipient list in PW
20494. While this acknowledges the CCC transfer of the IT relocation, which will be discussed
later, noticeably missing is Phase III.

The City did add the Mental and Medical Needs building to its request for Recipient
facilities as project #32 of the 34 submitted, as noted below. There is no evidence that FEMA
has ever approved the Mental and Medical Needs facility as a recipient facility.

PW 3977- discussion re: Medical Facilities within Templeman I & II

The Templeman I & II facilities included 1,760 Net Square Feet for two clinic spaces for
medical and mental health.” This amount would be grossed up for walls, columns, chases, and
circulation, and HVAC mechanical. There were also 288 beds dedicated to medical facilities
within Templeman I & II.

 

8 See PW 3977 v7 Exhibit B to Version Request which is included in PW 21063; Bates 182 and 183 of 484.

” See PW 3977 V7 Attachment 4, page 2 of 4; Bates 210-212 of 484. A copy of PW 3977 V7 is included in PW
21063 as Attachment 5.

a See PW 3977 V7 Attachment 4, FEMA November 20, 2012 letter Attachment 1; Bates 216 of 484. A copy
of PW 3977 V7 is included in PW 21063 as Attachment 5.

21 See PW 21063, page 6 of 10; Bates 8 of 484.
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Of specific importance to the Phase III funding with regard to Templeman I & II, on
November 15, 2013 FEMA issued a Request for Information (RFI) concerning Templeman I & II
to the City. Contained therein as RFI #2 was the following RFI:

“At a meeting on August 14, 2013, the Sub-Grantee stated the facilities
accommodated medical facilities. For medical facilities, please provide a
description of the functions or procedures performed and their location as well as
the number, type, and location of beds. If they are available. FEMA also requests
floor plans showing these medical facilities” 7

In response to this RFI, Grace and Hebert on December 17, 2013 responded on behalf of
the City, as follows:

“Response: In discussions with Dr. Gore of the OPSO it is apparent these buildings
were the hub of the Medical and Mental Health care for the campus. The plans
submitted along with the modifications to the exercise yard indicate the clinical
areas. There were also eight (8) dormitories that were used for medical housing.
There was no infirmary on the campus; therefore, this medical housing was used
for all types of care. Surgery or major medical procedures were not done on
campus.

These components included renovated spaces within the Templeman facilities plus
additional expansion areas adjacent to the facility (formerly open exercise yards)” .

There were 8 dormitories used for medical and mental health as noted in the City’s response
to the FEMA RFI. Each dormitory had 36 occupants.”* Thus, the Templeman I & II facility had
288 beds for medical and mental health which were added by OPSO after the construction of
Templeman I & II.

PW 21057- SRIA Consolidated Subgrant 2- NOT RELEVANT

There are ten Project Worksheets to fund proposed work (Donors) and twelve recipient
projects. There are no OPSO/LED projects included in the donors or the recipient projects. The
aggregate obligated funding is $28,963,153.93.

PW 20947- SRIA Consolidated Subgrant 1- NOT RELEVANT

 

3 See PW 3977 V7 Exhibit B to Version Request which is included in PW 21063; Bates 302 of 484.

74 See PW 3977 V7 Exhibit B to Version Request which is included in PW 21063; Bates 185 and 186 of 484.

a See PW 3977 V7 Exhibit B Attachment 2, page 4; Bates 286 of 484. A copy of PW 3977 V7 is included in
PW 21063 as Attachment 5. .
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There are 21 Project Worksheets to fund proposed work (Donors) and eleven recipient
projects. While this is a Criminal Justice PW, there are no OPSO/LED projects included in the
donors or the recipient projects. The aggregate obligated funding is $44,865,354.94.

PW 20494- Consolidated Alternate Project Request

for
Criminal Justice Facilities

$106,629,443.00 of funds from Templeman I & II (PW 3977 and PW 21063) is scheduled
to go into this PW 20494. In addition, there is available an administrative allowance of
$352,412.66.

The most recent version of PW 20494 is Version 5. However, at this time this
additional funding from PW 3977 and 21063 has not been obligated and transferred to this
Project Worksheet and is not available due to the Strategic Funding Initiative which requires
that the project be ready for construction within the next year. .

This PW is the consolidation of funding from various PWs into a single funding pool.
The Donor PWs are as follows:

PW 21063 Templeman I & II $50,495,852.57 (Not yet reflected in PW
20494)

PW 1050 MTA East Draught Pit Canopy$2,330.60
PW 1057 MTA East Apparatus Bldg $50,469.68
PW 1065 MTA East Ladder training $8,811.50
PW 1086 MTA East Toilet Bldg $3,208.85

PW 1118 MTA East Burm Bldg $11,797.50
PW 1120 MTA East Classroom $21,663.00
PW 5456 MTA East Firing Range $162,680.00
PW 8483 NO Police 5" Dist Station  $3,915,371.00
PW 11714 MTA East Administration B $313,953.00
PW 12206 CNOCrime Lab $3,146,461.01
PW 13608 Police Maintenance Wareh $3,683,793.93
PW 13923 Community Corrections Cen $22,160,540.00
PW 13946 _— Police Carpenters Shop $438,742.72
PW 19038 NO Police Dept 7" District $3,234,274.00

Version 1:

 

% See Email from GOHSEP Custodian of Records dated 7/7/20.
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PW 13923 V1 Community CorrectionsIT $143,439.00 * additional $15,505 in PW
13923

Version 2:

Demolition of Fire Station 22/39 relocation $19,333.00
NOPD 1* Dist Police Station PW 9270 Will NOT be included here
1* Dist Police PW 9720 Will NOT be included here

PW 3977 Templeman I & II Waiting Completion of review by FEMA

Mobile video units $289,870.00

Version 3:

PW 1051 NOFD 3 $976,246.56

PW 1082 NOFD Supply Shop $276,333.15

PW 2048 Juvenile & Civil Court $1,016,686.00

PW 8744 NOFD Station 11 $294,834.07

PW 13999 Irish Bayou Communications $162,942.05

PW 3977 Templeman I & II $12,605,402.10* Eligible funding is
$56,133,590.49

Version 4:

Police vehicle purchases; No overall funding change. Total is $91,470,047.25.

Version 5:

PW 17452 _—_— Project management $2,523,181.50

PW 20494 V5 I (There are 2 versions of this Version)

75 PWs totaling $144,784,844 submitted. *°

The City can use the funding from this consolidated PW to fund those projects which the

City has submitted to FEMA for approval. In submitting the Alternate Project funding request,
the City and FEMA can agree upon a cap for individual projects or can agree that there is no cap
on each individual project. In this consolidated PW, there is a cap on each individual project.

The proposed or approved Recipient alternate projects are:

Proposed or Approved Recipient Alternate Projects Amount approved
1. MTA?’ East Training Enhancements $420,162.66

2. NOPD 5" District Station Replacement $3,448,765.00

3. NOPD 7" District Station Replacement $2,757,904.00

4. Criminal Evidence and Processing Complex $11,554,473.21

5. Community Corrections Center Demolition $5,553,455.87

6. NOFD Station 31 $210,081.33

 

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PW 20494 V5 ll, page 5 of 126; Bates 5 of 691. See also PW 20494 V5, page 5 of 114; Bates S of 710.
Municipal Training Academy (“MTA”).

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7. EMS Headquarters $5,102,033.28
8. Municipal and Traffic Court Bldg Enhancement $2,100,813.31
9. Police vehicles $5,088,501.74
10. CCC IT relocation $170,669.28
11. NOFD Station 22/39 $741,401.58
12. NOPD 1" District Station $120,000.00
13. Mobile video Units Removed

14, Municipal Traffic Court $2,000,000.00
15. Additional Police Vehicles $3,531,023.09
16. NOPD Data storage $525,203.33
17. Early Warning System $210,081.33
18. Additional Police vehicles $1,452,475.17
19. License plate recognition system $525,203.33
20. Juvenile Justice Center Complex $6,348,119.25 (Completed)
21. Gallier Hall Preservation /restoration $1,550,000.00
22. NOPD 3" District Station PW 21062

23. Police Training Academy PW 21602

24. EMD Central Maintenance Bldg PW 21062

25. Criminal District Court PW 21062

26. Youth Detention Center PW 21067

27. Juvenile Justice Center In-Line Grinder PW 21068

28. NOFD Headquarters at Naval Support Act Bldg

29. Gallier Hall Exterior repairs

30. Desire Florida Community Center

31. NOPD 4" District Station

32. Mental and Medical needs

33. Old Parish Prison Docks PW21081
34. Project Management

PW 21062- Criminal Justice & Public Safety Alternate Project- Criminal
Court Phase II, NOPD Third District Renovation, and Training Center

Renovation

This Project Worksheet includes funding solely and entirely from PW 3977 and/or PW
20494 (Templeman I & II).”® The total FEMA funding in this project is $17,024,516.18. This
Project Worksheet addresses projects # 22-25 in PW 20494

The City nominated the following recipient projects:

 

22. NOPD 3” District Station $1,635,000.00
23. Police training Academy $5,000,000.00
= PW 21062, page 10 of 41.

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24. EMD Central Maintenance Bldg $5,397,862.00

25. Criminal District Court $4,500.000.00
Total recipient Funding - $16,532,862.00

FEMA funded $56,642,919.01 in PW 3977 in eligible project costs for Templeman I &
II. The amount of $509,328.52 is site specific costs(demolition) which are deducted from this
amount. The difference of $56,133,590.49 is available for use in the CJ/PS alternate project. This
amount does not include insurance deductions of $5,594,000.00 and $500,000.00.

In version 1 of this PW, the City transferred $8,354,542.47 out of the Project
Management PW 17452. The transfer out included $731,333.00 (Templeman I & II money) into
the PW 21062.”

The work was performed by Battco Construction and Maintenance, Inc. Apparently there
were a series of contract amendments which added different scopes of work, Criminal Court Phase
II, NOPD Third District Renovation, and Training Center Renovation.

PW 21067 V3- Criminal Justice & Public Safety Alternate Project
Youth Detention Center

This Project Worksheet includes funding solely and entirely from PW 3977 and PW

_.20494(Templeman I & II) and PW 17452 Project Management.*° The total FEMA fundingin 1.

this project is $16,406,506.48.This Project Worksheet addresses project # 26-27 in PW 20494
The City nominated the following recipient project in this PW:
26. Youth Detention Center $16,406,506.48
Total recipient Funding $16,406,506.48

Project 27 will be added to the PW 20494 at $600,000.00. The following projects which
remained under review are 27-34. Projects 32 and 33 are the Mental and Medical needs and Old
Parish Prison Docks, respectively.

PW 21068-Criminal Justice & Public Safety Alternate Project

In Line Grinder Juvenile Justice

This Project Worksheet includes funding solely and entirely from PW 3977 (Templeman
I & II) and PW 17452 Project Management.*! The total FEMA funding in this project is
$630,243.99. This Project Worksheet addresses project #27 in PW 20494

 

29 PW 21081 V1, page 9 of 47; Bates 0009.
30 PW 21062, page 10 of 41.
aa PW 21068, page 11 of 32.

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The City nominated the following recipient project in this PW:
27. In Line Grinder Juvenile Justice $630,243.99
Total recipient Funding $630,243.99

The following projects which remained under review are 28-34. Projects 32 and 33 are
the Mental and Medical needs and Old Parish Prison Docks, respectively.

Period of Performance

The City has control since 2016 of the FEMA funding for Templeman I & II. It has -
missed numerous deadlines to provide information on the Mental and Medical Needs facility to
FEMA so as to enable FEMA to do its Eligibility analysis including environmental review, its
historical review, its review of compliance with all related Executive Orders, as it has done on
every other project. It does not appear that as of this date the City has supplied FEMA with
design development stage plans for the Mental and Medical Needs facility. The construction
work must be completed by 8/29/23 (approximately 3 years) which is the current FEMA Period
of Performance (PoP) for Hurricane Katrina. If the work is not completed by then, FEMA will
not fund the project. The Citizens of New Orleans cannot afford to fund this construction without
these essential FEMA funds.

Community Correctional Center (CCC)

The CCC is a City owned building as a result of a donation by the Federal Government to
the City of New Orleans. At the time of Hurricane Katrina, the CCC housed many OPSO .
inmates.

The CCC was also location of the OPSO administrative offices for the entire OPSO
campus. The CCC housed all the OPSO computers which were used to operate the entire OPSO
campus. The CCC housed all the OPSO telephone systems which were used to operate the entire
OPSO campus. The CCC also housed exercise rooms. The OPSO made a multimillion-dollar
investment in the tenant improvements at the CCC.

The OPSO filed a request for a Project Worksheet for the repairs to its tenant
improvements. While FEMA was processing this request by OPSO, the City asked FEMA to
request that OPSO withdraw its request for a PW for approximately $8,000,000 in tenant
improvements. At the City’s request, the OPSO agreed to withdraw its request provided that the
City would fund the transfer of the computers system from CCC to its ultimate location. OPSO
withdrew its request for FEMA funding. The City never funded the cost of the transfer of the
computer systems to the new Administration portion of the OJC.

As noted above, FEMA in PW 13923 funded $22,160,540.00 for the repairs to CCC. The
City used this PW to contribute these funds into the Criminal Justice Alternate Project PW
20494. The City then allocated $5,553,455.87 for the demolition of CCC as recipient #5. Thus,
in addition to the above funds, the City benefitted by $16,607,084.13 from the damages to this

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OPSO office and inmate building and the improvements made by the OPSO at the CCC and the
decision not to repair and restore the administrative offices and inmate housing units in CCC.

There is also FEMA funding for CCC for Project Management in the estimated
amounts of $2,161,623.00 ($22,160,540.00 * 9.754%) plus $15,505.00 for the CCC IT transfer.

Expenditures

Expenditures

PW 21063- Templeman I and II

This PW, which includes the FEMA funding which Sheriff Marlin N. Gusman assisted the
City in obtaining, is a donor PW to PW 20494. All of the funding was transferred to PW 20494.
However, the PW 21063 has not been obligated due to the fact that the City has never progressed
with the work due to the Strategic Initiative. There are no expenditures which are relevant to the
amount of available funds from Templeman I & II.

PW 17452- Consolidated Project Management
$8,991,506.00 of Templeman I & il funds went into this PW.
The following RRFs were processed out of these funds and paid by GOHSEP to the City:

e NONE

e The City transferred all $8,991,506 of these funds into PW 20494 and/or other
PWs. From there money was transferred to other PWs. However, it has not
proposed using this for the Mental and Medical Needs Building.

PW 3977 V7- Templeman Prison Phase I (and II)

This is a donor PW to PW 20494. The only funds expended are for the demolition of the
Templeman I & II facilities. Demolition costs are not transferable. These expenditures are not
relevant to the amount of available funds from Templeman | & IL.

PW 21057- SRIA Consolidated Subgrant 2- NOT RELEVANT

There are no funds which are relevant to the amount of available funds from Templeman I
& IL.

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PW 20947- SRIA Consolidated Subgrant 1

There are no funds which are relevant to the amount of available funds from Templeman I
& Il.

PW 20494- Consolidated Alternate Project Request for Criminal Justice
Facilities

$106,629,443.000f funds from Templeman I & II is scheduled to go into this PW from
Templeman I & II. In addition, there is available an administrative allowance of $594,412.66.

However, at this time $50,495,852.57 of this funding remains in PW 21063 and has
not been obligated transferred to this Project Worksheet and is not available, since the City
has not provided a construction schedule for the Phase III which FEMA requires for
obligation.

The following RRFs were processed out of these funds and paid by GOHSEP to the City:

e See attached Excel Spreadsheet.
e There remains unexpended funding available in excess of $90,000,000.00.

PW 21062- Criminal Court Phase Il, NOPD Third District Renovation, ©
and Training Center Renovation

As per the attached reimbursement report, the City has received $9,595,302.27 in
reimbursements (plus admin of $47,976.50) of the PW’s funding amount of $16,532,862.00.

PW 21067- Juvenile Justice Center

As per the attached reimbursement report, the City has received $13,447,511.90 in
reimbursements (plus admin of $67,237.58) of the PW’s funding amount of $16,406,506.48.

PW 21062- In Line Grinder

As per the attached reimbursement report, the City has received $96,068.75 in
reimbursements (plus admin of $480.34) of the PW’s funding amount of $630,243.99.

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Excessive Expenditures

EXCESSIVE EXPENDITURES
The following expenditures are excessive:

The City has expended more on the Docks and the Juvenile Justice facility than it budgeted
and suggested to FEMA and the OPSO. The Budget for the Docks was $5,000,000 which the City
submitted to FEMA. The final cost per the City’s Motion was 5.3. This is an overrun of
$300,000.00. That should not affect the funding for the Mental and Medical Needs Facility. The
Budget for the Juvenile Facility was $16,000,000 which the City submitted to FEMA. The final
cost per the City’s Motion was 17.3MM. This is an overrun of $1,300,000.00. That should not
affect the funding for the Mental and Medical Needs Facility. Thus, there should be added to the
available remaining funds the sum of $1,600,000.00.

OTHER FEMA FUNDING TO CONSTRUCT

A
MENTAL AND MEDICAL NEEDS FACILITY

 

The City owes OPSO the’sum of $1,471,804 for inmate meals which the City claimed to
have paid on behalf of OPSO. As a result, in the OPSO FEMA Second Appeal of PWs 1320 and
15882, FEMA deobligated this amount from previously obligated funds as a duplication of
benefits. The City could get reimbursed for this, if in fact it paid this amount. The City prior to
the Second Appeal hearing in Washington D.C. had agreed to acknowledge that this amount was
not previously paid by the City. After the hearing, despite its assurance, the City refused to sign
and mail the letter to FEMA. After requesting the letter and not receiving it, FEMA denied the
OPSO Second Appeal costing OPSO $1,471,804. This information has been provided to the
City. It is available upon request.

HOD stabilization:

The City owes OPSO the sum of $427,000 for expenses which OPSO paid for stabilizing
HOD on behalf of the City. FEMA has not reimbursed OPSO because the City has refused to
execute a Cooperative Endeavor Agreement (“CEA”) to enable OPSO to receive money from
FEMA. Thus, neither the City nor OPSO received FEMA funding. FEMA required a CEA
because the City owns the HOD building.

CCC IT relocation:

As noted above in Donor item 10, the City received from FEMA for the CCC’s IT
relocation the sum of $170,669.28 to relocate the OPSO IT from CCC to the new OJC. The City

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received the funds but has never paid the funds to OPSO. The actual cost to OPSO was
approximately $932,352.00."

Landscaping on parking Lot:

To obtain the conditional use permit to enable the construction of the OJC, the City
required OPSO to do extensive landscaping and to plant plants on Tulane Avenue and on Broad
street. FEMA refused to fund the planting of these plants. The cost to OPSO was $93,898 plus
$30,000 for landscaping on Broad street. FEMA disallowed eligibility to OPSO for these costs
which the City mandated.

Stop Work Orders:

The City improperly issued stop work orders during the construction of OJC and the
parking lot. At the court proceeding the City agreed to fund all costs. The General Contractor on
the OJC, The Mcdonnel Group/Archer Western Contractors demanded the sum of $363,000.00.

The General Contractor on the parking lot, Durr Heavy Construction, demanded the sum
of $24,918.34."

Temporary Medical and Mental Health:

The City insisted on the control of the Templeman | & II funds. In response to the
Consent Decree, the OPSO made a temporary medical and mental health facility inside of the
OJC. FEMA has not yet funded this temporary medical and mental health facility because it was
not in Templeman III & IV. FEMA has argued that these functions were in Templeman [ & IL.
The cost of these temporary facilities is approximately $1,120,255 for temporary medical and
$2,133,085 for temporary video visitation in Change Order 20, $840,000 in CCD #37, along with
several pending PClIs, and claims.

Grace Hebert Invoice:

The OPSO has paid $873,898.70 and has an additional invoice for $131,917.68 in Design
Fees for the Mental and Medical Needs Facility. The City should be and in part is using this
design as the basis for the Mental and Medical Needs Facility. Despite this fact, the City has not

reimbursed the OPSO for these design fees.
MICHAEL G. Atel

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at See attached May 14, 2013 correspondence from the City.

= See attached correspondence and estimate from The Mcdonnel Group/Archer Western Contractors Joint
Venture dated June 25, 2015. This matter is still under discussion with the General Contractor.

4 See attached correspondence from the Project Manager dated July 27, 2015.

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